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 6                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
 7                                      AT SEATTLE

 8   UNITED STATES OF AMERICA,                            NO. MJ14-122
 9
                                   Plaintiff,
10
            v.
11                                                        DETENTION ORDER
     STEVEN ASIR THOMAS,
12
                                   Defendant.
13

14
     Offenses charged:
15
            Count 1:       Conspiracy to Distribute Methamphetamine in violation of 21 U.S.C. §§
16                         841(a)(1), 841 (b)(1)(A) and 846.
17          Count 2:       Money Laundering, in violation of 18 U.S.C. § 1956(a)(3).
18
     Date of Detention Hearing: April 1, 2014.
19
            The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and
20
     based upon the factual findings and statement of reasons for detention hereafter set forth, finds:
21
            FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION
22
            1.      Pursuant to 18 U.S.C. § 3142(e), there is a rebuttable presumption that
23
                    defendant is a flight risk and a danger to the community based on the nature of
24
                    the pending charges. Application of the presumption is appropriate in this case.
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     DETENTION ORDER
     18 U.S.C. § 3142(i)
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 1         2.    The evidence against the defendant, although the least significant factor, is very

 2               strong.

 3         3.    If convicted, defendant faces the possibility of a very lengthy sentence.

 4         4.    Defendant has, according to government proffer, previously offered money to a

 5               confidential informant to assault an attorney who was opposing his position in a

 6               civil case involving the nightclub that is the locus of the activities in this case,

 7               raising serious issues of obstruction of justice in this case, given the potential

 8               length of sentencing if found guilty.

 9         5.    According to tape recordings, the defendant, although a convicted felon, has

10               access to firearms, as he was allegedly willing to barter these for members of a

11               drug cartel, in exchange for methamphetamine.

12         6.    There are no conditions or combination of conditions other than detention that

13               will reasonably assure the appearance of defendant as required or ensure the

14               safety of the community.

15         IT IS THEREFORE ORDERED:
16         (1)   Defendant shall be detained and shall be committed to the custody of the
17               Attorney General for confinement in a correction facility separate, to the extent
18               practicable, from persons awaiting or serving sentences or being held in custody
19               pending appeal;
20         (2)   Defendant shall be afforded reasonable opportunity for private consultation with
21               counsel;
22         (3)   On order of a court of the United States or on request of an attorney for the
23               government, the person in charge of the corrections facility in which defendant
24               is confined shall deliver the defendant to a United States Marshal for the
25               purpose of an appearance in connection with a court proceeding; and
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     18 U.S.C. § 3142(i)
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 1         (4)    The Clerk shall direct copies of this Order to counsel for the United States, to

 2                counsel for the defendant, to the United States Marshal, and to the United States

 3                Pretrial Services Officer.

 4         DATED this 1st day of April, 2014.

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                                                AJAMES P. DONOHUE
 7                                               United States Magistrate Judge

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     DETENTION ORDER
     18 U.S.C. § 3142(i)
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